          Case 1:21-cv-00717-LY Document 86 Filed 11/12/21 Page 1 of 2

                                                                              r-       rr
                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF                 TEOV 12            PH    I:   31
                                  AUSTIN DIVISION     CLE
                                                                         TL
                                                                                       Tui    C4tUM
                                                                                              TEXAS
E.T., BY AND THROUGH HER                       §
PARENTS AND NEXT FRIENDS; D.D.,                §                                   4

BY AND THROUGH HER PARENTS                     §
AND NEXT FRIENDS; J.R., BY AND                 §
THROUGH HER PARENTS AND NEXT                   §
FRIENDS; H.M, BY AND THROUGH                   §
HER PARENTS AND NEXT FRIENDS;                  §
E.S., BY AND THROUGH HER                       §
PARENTS AND NEXT FRIENDS;                      §
M.P, BY AND THROUGH HER                        §
PARENTS AND NEXT FRIENDS; S.P.,                §
BY AND THROUGH HER PARENTS                     §
AND NEXT FRIENDS; AND                          §          CAUSE NO. 1:21-CV-717-LY
A.M., BY AND THROUGH HER                       §
PARENTS AND NEXT FRIENDS,                      §
                 PLAINTIFFS,                   §
                                               §
V.                                             §
                                               §
MIKE MORATH, IN HIS OFFICIAL                   §
CAPACITY AS THE COMMISSIONER                   §
OF THE TEXAS EDUCATION                         §
AGENCY; THE TEXAS EDUCATION                    §
AGENCY; AND ATTORNEY GENERAL                   §
KENNETH PAXTON, IN HIS OFFICIAL                §
CAPACITY AS ATTORNEY GENERAL                   §
OF TEXAS,                                      §
                DEFENDANTS.                    §


                                             i)    1 P1


       Before the court in the above styled and numbered action is Defendant Kenneth Paxton, in

his official capacity as Attorney General of Texas's ("Attorney General Paxton") Motion for Stay

Pending Appeal filed November 11, 2021 (Doe. #85). The motion was filed on Veterans Day, a

federal holiday, and therefore, the court became aware of the filing today. The motion requests that

the court stay the Permanent Injunction rendered on November 10, 2021, during the pendency of
          Case 1:21-cv-00717-LY Document 86 Filed 11/12/21 Page 2 of 2




Attorney General Paxton's appeal of the injunction to the United States Court of Appeals for the

Fifth Circuit, and that the court render a ruling on the motion by close of business today.

       Having reviewed the motion, the court finds that a response to the motion would be helpful

before the court rules on the request for a stay and that Plaintiffs should be afforded adequate time

to file a response. Therefore,

       IT IS ORDERED that Plaintiffs may file a response to the Motion for Stay Pending Appeal

filed November 11, 2021 (Doc. #85) on or before Tuesday, November 16, 2021, at 5:00 p.m.

Austin, Texas time.

       SIGNED this                  day of November, 2021.




                                                  ITED STAT S DISTRICT JUDGE
